                         UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF WASHINGTON

In re ________________________________,
         Peter D Hackinen                                                                         Case No. ________________
                                                                                                              09-17051




                                TRANSFER OF CLAIM FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(4), Fed. R. Bankr. P., of the transfer,
for security, of the claim referenced in this evidence and notice.



   Nationstar Mortgage                                                       MetLife Home Loans c/o McCarthy & Holthus, LLP
______________________________________                                      ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):               9
should be sent:                                                             Amount of Claim:                        277305.13

        Nationstar Mortgage
                                                                            Date Claim Filed:                       11/24/2009
        PO Box 829009
        Dallas , TX 75382-9009

Phone: ______________________________
        888-480-2432                                                        Phone:
Last Four Digits of Acct #: ______________
                               1923                                         Last Four Digits of Acct. #: __________
                                                                                                          7043


Name and Address where transferee payments
should be sent (if different from above):
        Nationstar Mortgage
        350 Highland Dr
        Lewisville, TX 75067
Phone: 888-480-2432
Last Four Digits of Acct #:               1923




I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

       /s/ James Cloud
By:__________________________________                                                11/16/2011
                                                                            Date:____________________________
       Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.




  Case 09-17051-MLB                     Doc 63          Filed 11/16/11             Ent. 11/16/11 17:10:19                   Pg. 1 of 2
                               CERTIFICATE OF SERVICE


 I,__________________________________,
         James Cloud                           hereby certify that a true and correct copy
 of the foregoing Notice to Transfer Claim pursuant to Bankruptcy Rule 3001(e)was
 served upon the following parties by first class mail, postage prepaid on or before this
 ________
    21st     day of ______________
                     November        , _____:
                                       2011


 Debtors' Attorney
 CHRISTINA LATTA HENRY
 SEATTLE DEBT LAW LLC
 705 2ND AVE STE 501
 SEATTLE, WA 98104-1715
 206-324-6677
 chenry@seattledebtlaw.com




 Debtors
 PETER D HACKINEN
 624 N 138TH ST
 SEATTLE, WA 98133-7423




 Trustee
 K MICHAEL FITZGERALD
 600 UNIVERSITY ST STE 2200
 SEATTLE, WA 98101-4152
 206-624-5124




 Case Number: 09-17051                             ____________________________
                                                      /s/James Cloud
                                                        James Cloud




 NOTICE TO TRANSFER CLAIM




Case 09-17051-MLB             Doc 63   Filed 11/16/11   Ent. 11/16/11 17:10:19     Pg. 2 of 2
